           Case 2:17-cv-00122-RMP                   ECF No. 74        filed 12/21/18       PageID.2397 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                                   FILED IN THE
                                                                                                                    U.S. DISTRICT COURT
                                                                  for the_                                    EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
                        JADE WILCOX,
                                                                                                              Dec 21, 2018
                                                                                                                   SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 2:17-cv-00122-RMP
          JOHN BATISTE and JOHN DOES 1-300                           )
                                                                     )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Defendant’s Motion for Summary Judgment, ECF No. 35, is GRANTED.
’
              Ms. Wilcox’s claims against Chief Batiste in his official and personal capacities are DISMISSED with prejudice.
              Ms. Wilcox’s claims against the 300 John Does are DISMISSED without prejudice. Judgment entered in favor of
              Defendants. Upon entry of judgment, the Preliminary Injunction imposed by this Court, ECF No. 14 is DISSOLVED.


This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge             ROSANNA MALOUF PETERSON                                         on a motion for
      Summary Judgment (ECF No. 35)


Date: 12/21/2018                                                           CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Allison Yates
                                                                                          (By) Deputy Clerk

                                                                            Allison Yates
